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IN THE UNITED STATES DISTRICT COURT T"“‘ "'i °'B"' ‘ °LERK
FoR THE DIsTRICT oF KANSAS BY DEPU CLERK
(Topeka Docket)

 

 

 

UNITED STATES OF AMERICA
Plaintiff,
air
V. Case No. 18-40051<-01
WEILING NIELSEN,
Defendant.
l N F 0 R M A T I 0 N

The Acting United States Attorney charges that:
COUNT 1

Frorn on or about 2007, and continuing to on or about lune 5 , 2018, in the District ofKansas

and elsewhere, the defendant,
WEILING NIELSEN,

conspired and agreed With others to commit offenses against the United States, hereafter described,
that is:
Interstate transportation in aid of racketeering enterprises, in Violation of Title 18, United States
Code, Section 1952.

ln furtherance of the conspiracy and scheme, and to accomplish the purposes and objectives
of the conspiracy, one or more coconspirators committed overt acts in the District of Kansas and
elsewhere, including 'but'not limited to:

a. conducted business as an illegal massage parlor by providing sexual services in
exchange for cash;

b. rented commercial business space Where the illegal massage parlor operated;

c. deposited cash from the sexual services into bank accounts owned and controlled

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by the defendant
d. used cash from the sexual services to purchased money orders in Kansas that Were
deposited into bank accounts in Califomia owned and controlled by the defendant
This Was in violation of Title 18, United States Code, Section 371.
STEPHEN R. MCALLISTER

United States Attorney
District of Kansas

